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 1                            UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3

 4    UNITED STATES OF AMERICA,                      )    2:10-cr-284-RLH-PAL-4
                                                     )
 5                    Plaintiff,                     )
                                                     )    ORDER ON VIOLATION NOTICE
 6                    vs.                            )
                                                     )
 7    PATRICIA BASCOM,                               )
                                                     )
 8                    Defendant.                     )
                                                     )
 9
                                            FINDINGS OF FACT
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               Patricia Bascom, defendant in the above-captioned matter, was indicted in this matter on
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      June 16, 2010, and arrested by the FBI on the same day. Ms. Bascom was initially released by a
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      magistrate judge under the condition that she abide by several restrictions upon her conduct
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      pending trial. Ms. Bascom was, among other things, ordered not to violate any federal or state
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      law. Upon her release, Ms. Bascom has continued to conduct business as an escrow agent and to
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      own and operate an escrow agency called Las Vegas Escrow Services, LLC.
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               United States Pretrial Services has since notified the Court that Patricia Bascom violated
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      her conditions of release by operating an escrow agency and by providing escrow services, both
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      without a valid license from the State of Nevada.
19
               The Court has also received copies of several orders issued by the State of Nevada,
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      Department of Business and Industry, Division of Mortgage Lending (the “Division”), which is
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      responsible for licensing escrow agencies and escrow agents operating in Nevada. An order that
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      the Division issued on October 5, 2010, required Ms. Bascom to “immediately cease and desist
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      from soliciting any and all escrow agency activity in the State of Nevada,” unless certain
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      conditions were met. That same day, the Division issued a “Notice of Intent to Revoke Escrow
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      Agency License, Notice of Intent to Revoke Escrow Agent License, Notice of Intent to Impose
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      Fine and Notice of Right to Request Hearing.” Among other things, the Notices outlined
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 1    “Violations of Law” governing escrow agents and escrow agencies that had been committed by

 2    Bascom and her agency.

 3             On September 30, 2011, a hearing officer issued a decision in an action entitled “In the

 4    Administrative Action of LAS VEGAS ESCROW SERVICES, LLC, and PATRICIA BASCOM.”

 5    The September 30 decision recited that Ms. Bascom and Las Vegas Escrow Services LLC, had,

 6    with the assistance of an attorney, “appealed an Order to Discontinue (Cease and Desist) . . . .”

 7    The decision further found that Ms. Bascom and her escrow agency had violated several

 8    provisions of Nevada law governing escrow agents and agencies. The September 30 decision

 9    concluded by ordering that “the revocation of Respondents’ [Bascom and Las Vegas Escrow

10    Services, LLC] escrow agent/agency licenses is AFFIRMED.” Citing Nevada law, the decision

11    also stated that “it is unlawful for any person to engage in, carry on, or holder herself out as engage

12    in or carrying on, the escrow business or act in the capacity as an escrow agent or agency without

13    first obtaining a license as an escrow agent or agency.”

14             Despite the State’s orders, Ms. Bascom has continued to provide escrow services and has

15    continued to own and operate Las Vegas Escrow Services LLC. Accordingly, the Court finds that

16    Ms. Bascom has violated her conditions of release.

17                                                  ORDER

18             Having found that Ms. Bascom violated her conditions of release, it is therefore

19             ORDERED that Ms. Bascom and Las Vegas Escrow Services LLC shall not solicit any

20    escrow or mortgage-lending-related business, hold themselves out as available, qualified, or

21    licensed for such business, or accept any such business if it is offered to them;

22             IT IS FURTHER ORDERED that Ms. Bascom and Las Vegas Escrow Services LLC shall

23    immediately cease conducting any business related to escrow or mortgage lending, except that Ms.

24    Bascom may close escrow on or before January 20, 2012, for transactions that were, before the

25    issuance of this order, scheduled to close escrow on or before January 20, 2012;

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 1             IT IS FURTHER ORDERED that, to the extent that Ms. Bascom or Las Vegas Services

 2    LLC had contracted before January 9, 2012, to provide any services in the future, Ms. Bascom and

 3    Las Vegas Services LLC shall immediately arrange to transfer that business to other escrow agents

 4    and escrow agencies;

 5             IT IS FURTHER ORDERED that, by January 20, 2012, Ms. Bascom must provide to

 6    U.S. Pretrial Services a list of all transactions on which she or Las Vegas Services LLC had

 7    contracted or agreed to provide escrow-related services or advice. That list must set forth the

 8    property address to which the transaction pertained, the party that contracted to receive escrow

 9    services, and the identity of the escrow agency and escrow agent to which Ms. Bascom has

10    transferred that business;

11             IT IS FURTHER ORDERED that, under no circumstances, may Ms. Bascom or Las

12    Vegas Escrow Services LLC close escrow on any transaction or otherwise provide escrow or

13    mortgage-lending-related services or advice after January 20, 2012, either directly or through any

14    other person, business, escrow agency or escrow agent;

15             This order shall remain in effect until further written order of this Court.

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19             DATED this 11th day of January, 2012.

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23                                                UNITED STATES DISTRICT JUDGE

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